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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:                                                        Case No. 8:18-bk-03456-MGW
                                                              Chapter 7
James Chisholm

         Debtor(s)            /

                              NOTICE OF WITHDRAWAL OF
                     TRUSTEE’S OBJECTION TO CLAIM OF EXEMPTIONS
                                      (Doc No. 31)

       NOTICE IS HEREBY GIVEN that Beth Ann Scharrer, the Trustee hereby withdraws the
Objection to Claim of Exemptions (Dkt. No. 31) (the “Objection”).

                                              Respectfully submitted,

                                              /s/ Richard M. Dauval
                                              Richard M. Dauval, Esq.
                                              3900 1st Street North
                                              St. Petersburg, FL 33703
                                              Ph No: (727) 327-3328



                                  CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of this notice has been furnished
either electronically or by U.S. Mail, this November 13, 2018 to the US Trustee, the Debtor and all
those who are electronically notified of such filings

                                              /s/ Richard M. Dauval
                                              Richard M. Dauval, Esq.
